DoHF.RTY & STUART, P.C.

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Ryan A. Stuart. ABA # 0706036
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IN 'l`l ll", UNl'l`l'Il) S`l'A`l'l'lS |)lS'l'Rl(.'l` ('.`.(`)llR'l`
FOR THE DISTRICT OF ALASKA

(_Tlll",RYl, B()Wll€,

Plainlif`l"
vs.

MEDTRONIC, INC.. REGENERATION

Al.ASK/\, |NC. d/bfa ALASKA REGIONAL
l|()SPl`l`Al., and Bl()Ml~ll)l(.`Al. TlSSUES
SERVICES. LTD.

Dcfcndant$. Cas¢ No. 3:08-cv-()()(l9{)-'I'MB

 

 

 

 

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COMI:`. NOW ch¢:ncralion Technologies, lnc., now knovm as RTI Biologics_.
lnc., Chcryl Bowie, Galen llospital .'\laska_. Inc. d»’bfa Alaska chional Hospital. and
Medtronic, lnc., through respective counsel of rccord. and pursuant to Fed. R. (`.iv. P. 41 hereby
stipulate to dismissal with prejudice of` any and all claims that wcrc_. or could have bccn.
asserted in this action. Each party shall bear its own costs and allomcy l`ees. A proposed order

is lodged hcrcwith.

3 s¢ipulmion fm nhmiwl winn mij

Bowé¢e v. RT!, el al , Ca%e No. 3:08-¢\'-00090-TMB
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1)0HERTY& STuAnT, P.C.

t)A'rl~;l) at Attcht»rag¢. Al:t<ka this lB"l"day or April, 2012.

DollERTY & S'ruART, P.C.
Counsc| for R'l`l Biologics. lnc.

 

4;,»
DATED at Anchoragc. Alaska this 15 day of April. 2012.

BOOKMAN & HELM, LLP
(ft)unsel for Cheryl Bt)wic

ii§:tt;ttti n¢lm: ABA #340907?

 

,r,
DATED at Anchomgc. Alaska this l‘S" day of April. 2012.

 

I)F.l.ANF.Y Wll.l-;s, INC.
(3ounsel for Galen Hospital A|aska, Inc.
dfb."a Alaska Regional llospital

By=M

'l`imothy J. Lamb, ABA #8409080

I)A'I`F.D at Fairbanks, Alaska this _ day of Apn`l. 2012.

Cl.APP PF.TF.RSoN TmMESsEN

TuoRsNEss Jom~lsoN, LLC
Counscl for Mcdtmnic. Inc.

By:

 

 

Jolm J. `l'ieme§cn, ABA #911]105

 

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'\ 80»'1'¢: \'. RTI, ct af., Casc No. 3108£\'-00090-'1?~13

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DonenTY & ST\,'ART, P.C.

 

 

DA'I`ED at Anchomge, Alaska this day of April_. 2012.

DOHt-;RTY & STUART, P.C.
Counscl for RTI Bio|ogics. lnc.

By= . _-
Ryan A. Stuart. ABA #0706036

 

DATED at Anchorage, Alaska this _ t day of Apn`l, 2012.

BOOKMAN & HF.l,M, LLP

Counscl for Cheryl Bowie

B)':
Rjch Helm, ABA #8409077

 

l)ATED at Anchoragc, Alaska this day of Apn`l, 2012.
DF.LANE¥ WlLES, INC.

Counsel for Galen Hospital Alaska, Inc.
dib/a Alaska chional Hospital

By:

 

1‘tmt>thy J. Latnb. ABA #8409030

_ ’l.
DATED at Fairbtmks. Aiaska this /'3 f day of Apri\, 2012.

CLAPP PETERSON TthzssF.N

1`H0RSNESS JoHNsoN, LLC
Conmel for Medlronic. Inc.

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Stipulation for Dh:missal With Prejudicc
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The undersigned hereby certifies that on the ila day of ApriL 2012, a true and correct copy of this document
was served on:

Richa!d lielrn

BOOKMAN & llliLM. LLP
471 W. 36"' Avenuc. Suite 204
Anchorage. AK 99503

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(.`.L.APP. PETERSON, TIF.MF,SSF,N. '1'110RSNESS & JOHNSON. l.l.('.` (FBKS)
` 411 4th Avcnut:. Suilt~. 300

Fairhanks, AK 991'01

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CLAPP. PETF.RSON, TlEMb`SSliN. '1'|10RSNESS & JOHNSON. LLC
711 H So'cct. Suin: 620

Anchor'agc. AK 99501

Timothy J. lamb
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Ancho¢age, AK 99501

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Suitc 400, PO Bost' 800

Wcst Conshohockcn. PA 19428

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OOZEN O`CONNOR, PC

200 Four Falk Coq>orar.ion Cenrer
Suitc 400. PO Box 800

West Conshohot:ken, PA 19428

Richard 13. W¢gryn . lr.

COZI£N O`CONNOR. PC

200 l"our 1"alls Cor'por'ate Center
Suite 400. PO Box 800

Wm Conshohoc|ten. PA 19428

Riomedical 'l`issucs Services. Ltd. NOT SERVl:`,D DUE TO UNDELI\'ERABLE MAll. ADDRF.SS
c."o Michael Maslromam'no

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Fort Lec_. NJ 0?014

 

§ By electronic mm through the ECF system as indicated on the Notice of F.leeuonic Fiiing,, or if not continued
l by ` `.F. by first class regular mail.

Vt.tttd§ w)d. l.¢gal soctctary
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Stipulan`on for Dismissal With Pnejudice
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